UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 EVERCARE CHOICE, INC.,

                        Plaintiff,                                Civil Case No.: 7:20-cv-02733-
                                                                              PMH
          v.
                                                                    NOTICE OF MOTION
 PKF O’CONNOR DAVIES, LLP; O’CONNOR DAVIES,                       FOR AN ORDER STAYING
 LLP; O’CONNOR DAVIES MUNNS & DOBBINS, LLP;                           OR DISMISSING
 and Individuals THOMAS P. KENNEDY; CHRISTOPHER                      THIS ACTION AND
 J. McCARTHY; MICHAEL J. SUAREZ; GARRETT M.                            COMPELLING
 HIGGINS; DOROTHEA RUSSO, AND JOHN DOES 1-                           MEDIATION AND
 10,                                                                  ARBITRATION
                    Defendants.




          PLEASE TAKE NOTICE that upon this Notice of Motion, the accompanying

Memorandum of Law, and the Declaration of Thomas R. Manisero dated December 7, 2020,

Defendants PKF O’Connor Davies, LLP (O’Connor Davies, LLP and O’Connor Davies Munns &

Dobbins, LLP are former names of the firm now known as PKF O’Connor Davies, LLP), Thomas

P. Kennedy, Christopher J. McCarthy, Michael J. Suarez, Garrett M. Higgins and Dorothea Russo,

move this Court, in accordance with the Local Civil Rules of the Southern District and the

Individual Practices of the Honorable Philip M. Halpern, United States District Judge, for an Order

pursuant to Fed. R. Civ. P. 12(b)(1) and Sections 3 and 4 of the Federal Arbitration Act, 9 U.S.C.

§§ 3, 4 staying or dismissing this action and compelling plaintiff to submit its claims for mediation

and arbitration on the grounds that all of the alleged claims are governed by mediation and

arbitration clauses agreed between the parties, and granting such other and further relief that this

Court deems just and proper. Movant intends to file and serve reply papers to Plaintiff’s opposition

papers.


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Dated: White Plains, New York
       December 7, 2020
                                     Respectfully submitted,

                           WILSON ELSER MOSKOWITZ EDELMAN & DICKER, LLP

                                            By: _/s/ Thomas R. Manisero
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                                            Davies, LLP; O’Connor Davies, LLP;
                                            O’Connor Davies Munns & Dobbins, LLP;
                                            Thomas P. Kennedy; Christopher J.
                                            McCarthy; Michael J. Suarez; Garrett M.
                                            Higgins; Dorothea Russo


CC:     Peter B. Zlotnick, Esq.
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